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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

Anthony Montoy,
     Petitioner,                            Civil I Complaint, .
                                                                   F I L E D
     v.                                                        Clerk's Office

Mr. S. Spaulding,                           Case#
                                                                 USDC, Mass -
                                                                      '-\....--
                                                                         \/
                                                              Date___:__----r
                                                                                   5
                                                                                  '-·
Dr. Gorham, and
Dr. Skarr.                                                    BY--~-
     Defendants.                                                    Depu.ty Clerk



                                  . Jurisdiction

     This Honorable Court has jurisdiction of this matter under 42:u.s.c. §1983.

construed under "Bivens."

                                      Parties

Plaintiff.                           Anthony Montoy #59105-060
                                     Federal Correctional Complex Low
                                     P.O. Box 1000
                                     Petersburg, VA 23804

Defendants.                          -Mr. s. Spaulding     FMC Devens Warden·
                                      42_]?atton Rd.
                                      Ayers, MA 01432

                                     Dr. Gorham FMC Devens Mental Health Dep.
                                     42 Patton Rd.
                                     Ayers, MA 01432

                                      Dr. Skarr ·FMC Devens Mental Health Dep.
                                      42 Patton Rd.
                                      Ayers, MA 01432

                                 Previous Lawsuits

    I have filed no other lawsuits prior to·this filing.

                              Administrative Remedy

     I haye completed the Administrative Remedy procedure suited to this

situation. (see: RE: Adminis,trative Claim No. TRT-Ner-2018-06914 of 3/15/2019

attached)
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                                      Claim Statement
                                  I
       On May 9, 2018 at 7:20hrs., I was working in the Mental Health Unit (N4)

at·the Federal Medical Complex, Devens, MA.         As I entered the unit from going to

the commissary, I noticed offender/patient Roberto Garcia acting in a strange

way.   After I put my things away, I asked Garcia if he was ok.        His only response

was to walk past me breathing very hard.       I immediately brought    this to the

Correctional Officer's (Ms. Lussier) attention.         She then notified his doctor via

e-mail and reported the situation to her relief (Officer Chipps).         I then went

down s·tairs where I seen Dr. Gorham and brought it to hiEi attention. · He responded

that he would talk to 'Garci~ and let his doctor (Dr. Skarr) know what,was going

on.    I also informed Nurse V. Kalapastos who also called his doctor.       At that

time, I believed that something would be done since everyone had been properly

notified.    However, when I returned to~the       unit at 15:40hrs., Garcia assaulted

me by throwing 205°F water on me.       For which, I was taken to the clinic for

treatment of first and second degree burns before being placed in the S.H.U. for

Nine days.    'Ihe defendants failed to respond to the situation when it was

properly reported to them.    'Ihis failure clearly created a situation in which the

individual defendants deprived me of my right of safety while in the care of the

F.B.O.P. which is clearly evidenced by the result of the event.

                                          Relief

       At this time, Plaintiff is seeking for the Court to award him money damages

in the amount of (200,000.00) Two Hundred 'Thousand Dollars.

                                          Consent

       At this time, Plaintiff is not consenting to proceed before a U.S.

Magistrate Judge.

                                        Jury Trial
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     At this time, Plaintiff is demanding 1 a Jury Trial in this matter.
Respectfully submitted, this 22.nd day of March,


                                                   '

                                  · Affirmation

     I affirm the content of the foregoing Civil Complaint is true, correct,

complete, and not misleading, according to my knowledge and conscience, this 22nd

day of March, 2019.
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                                           U.S. Department of Justice

                                             Federal Bureau of Prisons

                                            Northeast Regional Office
Via Certified-and Return Receipt Mail

                                              U.S. Custom House-7th Floor
                                            . 2nd & Chestnut Streets
                                            Philadelphia, PA /9106

                                            March 15, 2019

Mr. Anthony Montey, Re~. No. 59105-060
FCI Petersburg Low
P.O. Box 1000
Petersburg, VA 23804

        RE:      Administrative Claim No. TRT-NER-2018-06914
                 Register No. 59105-060

Dear Mr. Montey:

     Your Administrative C~aim No. TRT-NER-2018-06914, properly
received in this office on August 13, 2018, has been accepted
and considered for settlement as provided by the tederal T6rt
Claims Act (FTCA), 2a U.S.C. § 2672, under authority delegated
to me by 28 C.F.R. § 543.30.   You seek $200,000.00 for a
personal injury claim.   Specifically, you allege on May 9, 2018,
you suffered burn injuries as a result of being assaulted by
another inmate at FMC Devens.   You ·state staff did not take
appropriate measures to prevent the assault.

     An investigation reflects on May 9, 2018, staff observed
another inmate throw hot water on you and continued to assault
you.   R~cords, including an investigative report and staff
memoranda, indicate staff gave verbal commands to cease. At
that time, you and the other inmate complietj and were placed in
ambulatory restraints.   You were medically assessed and treated
for first and second degree burns. There is no indication staff
had knowledge of an imminent threat against you.   There is no
evidence you suffered a personal injury as a result of
negligence on the part of any Bureau of Prisons employee.
Accordingly, your claim is denied.

     If you are dissatisfied with this decision, you may bring
an action against the United States in an appropriate United
States District Court within six (6) months of the date of this
letter.


                                          ~cere~¼~,/
                                            Darrin Howard
                                            Regional Counsel

cc:     RADM S. Spaulding, Warden, FMC Devens
